Case 8:17-cr-00030-TPB-TGW Document 78 Filed 08/30/17 Page 1 of 5 PageID 293
Case 8:17-cr-00030-TPB-TGW Document 78 Filed 08/30/17 Page 2 of 5 PageID 294
Case 8:17-cr-00030-TPB-TGW Document 78 Filed 08/30/17 Page 3 of 5 PageID 295
Case 8:17-cr-00030-TPB-TGW Document 78 Filed 08/30/17 Page 4 of 5 PageID 296
Case 8:17-cr-00030-TPB-TGW Document 78 Filed 08/30/17 Page 5 of 5 PageID 297
